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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   -----------------------------------x
   CARNEGIE INSTITUTE OF WASHINGTON
   et al.,                                                          ..
          Plaintiffs,                                     20-cv-189 (JSR)

                       -v-                                                   \


   PURE GROWN DIAMONDS, INC. et al.,                           USDCSDNY

          Defendants.
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   CARNEGIE INSTITUTE OF WASHINGTON
   et al.,

          Plaintiffs,                                      20-cv-200 (JSR)

                       -v-
                                                                   ORDER
   FENIX DIAMONDS, LLC

          Defendant.

   -----------------------------------x

   JED S. RAKOFF, U.S.D.J.

          The above-captioned actions are consolidated f9r all

   pretrial purposes. The case management plan adopted at the March
                                                                             '
   6, 2020 in-court conference in the Pure Grown Diamonds action,

   20-cv-189, is hereby also applied to the Fenix action, 20-cv-

   200.

          SO ORDERED

   Dated:               New York, NY
                                                               ~/.~
                       March ~, 2020                       JED s. RAKOFF, u.s.'b.J.


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